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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

                                  TRIAL NOTICE AND
                                FINAL PRETRIAL ORDER

      USA v. Olumide Obidare (21‐cr‐106‐1) has been scheduled for trial before Judge
Nancy E. Brasel. Trial and Jury selection will begin Monday, March 14, 2022 at 9:00 a.m.
in Courtroom 15E (Chief Judge Tunheim’s Courtroom) located in the Diana E.
Murphy Federal Courthouse, 300 South Fourth Street, Minneapolis, Minnesota.

                                PRETRIAL CONFERENCE

      A pretrial conference will be conducted by Judge Brasel in Courtroom 13W
located in the United States Courthouse, Diana E. Murphy Federal Courthouse, 300
South Fourth Street, Minneapolis, Minnesota, on Monday, March 7, 2022 at 10:00 a.m.
All attorneys who will try the case must attend. The Court may schedule additional
pretrial conferences prior to trial to review new COVID‐19 protocol and juror
questionnaires.



                           INSTRUCTIONS FOR ALL CASES

      1. Submitting Documents. All documents must be filed electronically. Two
            courtesy copies of every document must be delivered to the chambers of
            Judge Brasel. Judge Brasel prefers those courtesy copies to be three‐hole
            punched and unstapled (and, if warranted, appropriately tabbed). Trial briefs
            (in MS Word), witness lists, exhibit lists, proposed voir dire (in MS Word),
            proposed jury instructions (in MS Word), proposed verdict forms (in MS
            Word), and proposed orders on motions in limine (in MS Word), shall also be
            e‐mailed to chambers e‐mail address at: Brasel_chambers@mnd.uscourts.gov.

      2. Trial Briefs.

      a.     Trial briefs shall be submitted by Monday, February 28, 2022.


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b.     The Government shall send Chambers an electronic copy of their trial brief
       to the Chambers e‐mail address. Defense counsel may respond with
       objections or suggested changes. Please make sure to send the document in
       MS Word and copy the Defense counsel on the e‐mail.

3. Exhibits.

a.       By Friday, February 18, 2022, the parties must exchange lists of the
         exhibits that they intend to offer at trial and make those exhibits available
         to the other parties for examination and copying.

b.       By Monday, February 28, 2022, each party must file its exhibit list and
         provide two courtesy copies to the Court.

c.       Plaintiff must mark its first exhibit as “P‐1” and number the others
         sequentially. Defendant must mark its first exhibit as “D‐1” and do
         likewise. The case number must appear on each exhibit.

d.       Only exhibits that are identified on the exhibit list may be offered at trial,
         unless the omission is excused for good cause.

e.       Parties shall provide the Court with 2 binders of exhibits on the first day
         of trial. One binder is for the Judge; another is for the witness stand.

f.       Prior to deliberating, the parties shall provide the Court with final exhibit
         lists with all the admitted exhibits only. The list shall be filed and go back
         to the jury deliberation room to assist in reviewing the exhibits. The final
         exhibit list may not include contested descriptions of exhibits.

g.       Within 7 days after the trial, the parties must submit to the Court a disk or
         thumb drive containing copies of all exhibits that were admitted at trial.



4. Witness Lists.

a.       By Friday, February 18, 2022, the parties must exchange lists of the
         witnesses whom the parties intend to call at trial, as well as a brief
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         description of the substance of the expected testimony of each witness.
         No person who is not identified on a party’s witness list may testify at
         trial, unless the omission is excused for good cause.

b.       By Monday, February 28, 2022, each party must file its witness list
         (restricted) and provide two courtesy copies to the Court.

 5.    Motions in Limine.

       All motions in limine must be filed by Monday, February 28, 2022, and
       responses to all such motions must be filed by Wednesday, March 2, 2022.
       The parties must respond to all motions in limine.

6. Proposed Voir Dire.

     During voir dire, Judge Brasel will handle all the questioning of prospective
     jurors during the pandemic, however, she will take input from the attorneys.
     By Monday, February 28, 2022, the parties must file any questions they wish
     the Judge to ask prospective jurors.

7. Proposed Jury Instructions.

a.       No later than Friday, February 18, 2022, the parties must exchange
         proposed jury instructions. The parties must then meet and confer and
         make every effort to resolve disagreements over those proposed
         instructions.

b.       Parties shall submit a set of jointly proposed jury instructions by Monday,
         February 28, 2022. A Word version of the proposed instructions must be
         emailed to Judge Brasel’s chambers.

         i.     Each proposed instruction must be numbered, appear on a separate
                page, and identify supporting legal authority.

         ii.    Any citation to a set of model jury instructions or a jury‐instruction
                treatise must be to the current version of the cited source unless a



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            party has good cause to cite an older version and explains why it is
            citing the older version.

8. Proposed Special Verdict Form. No later than Friday, February 18, 2022, the
parties must exchange proposed special verdict forms. The parties must then
meet and confer and make every effort to resolve disagreements over the
proposed special verdict form. If the parties reach agreement, the proposed
form must be filed by Monday, February 28, 2022. If they do not reach
agreement, the parties must file their own proposed forms by Monday,
February 28, 2022. A Word version of the proposed special verdict form must
be emailed to Judge Brasel’s chambers.

9. Daily transcripts. If any party intends to order daily transcripts of the trial,
that party should contact Judge Brasel’s court reporter, Erin Drost (651‐848‐
1227), as soon as possible, so that she can make arrangements for other court
reporters to assist her during the trial. Ms. Drost’s email address is
erin_drost@mnd.uscourts.gov.

10.   COVID‐19 Protocol.

a.    Attorneys, parties, and agents and witnesses shall wear masks (preferred)
      or face shields during the entire trial, except when speaking. The Judge,
      witnesses and potential jurors during voir dire will also be allowed to take
      their masks off during trial. The Court may also ask everyone at counsel
      table to remove masks when introductions are made to the jury.

b.    The courtroom has been outfitted with plexiglass, additional podiums to
      allow counsel to remain at attorney tables during most of the trial and
      cleaning products to keep all work surfaces clean during trial.

c.    The Court will provide all necessary parties with headsets for sidebars.
      The Court will limit the number of sidebar conferences if possible.

d.    A limited number of spectators will be allowed to view the trial from the
      courtroom. For jury selection, the public and media will be able to view
      the trial from the Minneapolis jury assembly room. They may not be

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     allowed inside the courtroom with the attorneys and parties to limit the
     number of people in the courtroom.

e.   Voir dire will be conducted with a limited number of jurors at a time to
     limit the number of people in the courtroom. Attorneys should be
     prepared to take detailed notes on jurors. Once the full panel is selected,
     the jurors will not be in the courtroom for the striking process.

f.   Attorney and witness rooms will be provided to the attorneys before trial
     to allow for proper social distancing. Some of these spaces may be located
     on different floors of the courthouse.

g.   Jurors will deliberate in a larger space, such as a courtroom or larger
     conference room. The necessary technology will be made available for
     jurors to view exhibits. They will not turn over their cell phones during
     the deliberation process, but they will not be allowed to use them except
     in emergency situations.

h.   All documentary evidence must be converted electronically and displayed
     from a laptop in the courtroom. Attorneys will place all the admitted
     evidence onto a thumb drive along with a linked index to each exhibit. A
     court laptop will be provided to the jurors so they can view all the
     electronic evidence. There will be a few exceptions where physical
     evidence is the only option. Physical evidence will need to be covered in a
     plastic covering and will be handled by only one person wearing
     disposable gloves. Paper exhibits are strongly discouraged during trial. Be
     advised it is up to the Government to get all exhibits by both sides saved
     onto a thumb drive with attached linked exhibit lists.

i.   Counsel shall make sure they are adequately able to communicate with
     their defendant during trial before trial, during breaks and at the end of
     the day. Headsets will be provided to both sides to allow for private
     conversations during the trial day.




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       j.   Counsel shall communicate this protocol with witnesses well in advance
            of trial. Counsel will let the Court know if video conference technology is
            necessary instead of the presence of an in‐person witness.

       l.   Each day, every trial participant will be verbally screened for COVID‐19
            symptoms which include a sore throat, cough, fever, muscle aches and
            shortness of breath. All jurors and in custody defendants will be
            monitored as well. The Court will self‐monitor for symptoms. The parties
            shall screen all witnesses prior to testifying.

       k.   The courtesy copy requirement is waived during this pandemic.



Dated: November 29, 2021                        s/Nancy E. Brasel
                                                Nancy E. Brasel
                                                United States District Judge




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